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                Transcript of November 2, 2021 Status Conference
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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF NEW YORK
      In re:                             :
                                            Case #19-23013-rdd
               53 STANHOPE LLC           :
                                            300 Quarropas Street
                                         : White Plains, New York
                For Chapter 11
                                         : November 2, 2021
                                            10:41:57 a.m.
      ---------------------------------- :


                TRANSCRIPT OF HEARING ON CASE STATUS CONFERENCE
                          BEFORE JUDGE ROBERT D. DRAIN
                      UNITED STATES BANKRUPTCY COURT JUDGE


      APPEARANCES:

      For Debtors:                    BACKENROTH FRANKEL & KRINSKY, LLP
                                      BY: MARK FRANKEL, ESQ.
                                      800 Third Avenue, 11th Floor
                                      New York, New York 10022

      For Brooklyn Lender:            KASOWITZ BENSON TORRES LLP
                                      BY: JENNIFER RECINE, ESQ.
                                      1633 Broadway
                                      New York, New York 10019

      For the U.S. Trustee:           OFFICE OF THE UNITED STATES TRUSTEE
                                      BY: BENJAMIN J. HIGGINS, ESQ.
                                      201 Varick Street, Room 1006
                                      New York, New York 10014




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      Proceedings recorded by electronic sound recording;
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                               E X A M I N A T I O N S



                                                           Re-         Re-
      Witness                   Court       Cross        Direct       Cross

      NONE

                                    E X H I B I T S



      Exhibit                                                                Voir
      Number       Description                                 ID     In     Dire

      NONE
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   1   (Proceedings commence at 10:41:57 a.m.)

   2               THE COURT:      Okay, In re 53 Stanhope LLC, et al.

   3               MR. MARK FRANKEL:          Good morning, Your Honor,

   4   Mark Frankel, Backenroth, Frankel and Krinsky,

   5   attorneys for the debtor.             David Goldwasser is also on

   6   the line and I believe Greg Corbin may be on by

   7   telephone.

   8               THE COURT:        Okay, good morning.

   9               MS. JENNIFER RECINE:            Jennifer Recine on

 10    behalf, from Kasowitz Benson Torres on behalf of

 11    Brooklyn Lender.

 12                THE COURT:        Good morning.

 13                MS. RECINE:        Good morning.

 14                MR. BENJAMIN HIGGINS:            And good morning again,

 15    Your Honor , Ben Higgins for the US Trustee.

 16                THE COURT:        Good morning.        And the debtors,

 17    for purposes of this status conference, are the

 18    debtors who are the plan proponents for the fourth

 19    amended Chapter 11 plan that is dated April 19, 2021,

 20    and was confirmed in May, 53 Stanhope, 325 Franklin,

 21    62 Lafayette, 92 South Fourth Street, 834 Metropolitan

 22    Avenue, 12, I’m sorry, 1125 -1133 Green Avenue, APC

 23    Holding, One LLC, 18 Holmes LLC, and 1213 Jefferson

 24    LLC. I scheduled this conference in light of Ms.

 25    Recine’s letter from last week in which she noted that
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   1   there have been no post confirmation reports filed and

   2   no outstanding requirement to do so in the

   3   confirmation order.           And, more importantly, it’s

   4   unclear whether and how the debtors are pursuing the

   5   means to imp lement the plan which involved a sale

   6   process, the timing of which, although preceded by the

   7   phrase, “subject to further broker consultation,” was

   8   laid out in paragraph 73 of the plan and at least as

   9   per that paragraph, one could infer would have

 10    resulted in an auction by now.

 11                So, Mr. Frankel, what is the status of the

 12    sale process?

 13                MR. FRANKEL:        Judge, I got a written report

 14    from the broker this morning which I filed and it’s

 15    very detailed. The sale process has been ongoing,

 16    there’s been very active marke ting. There has been an

 17    offer received well above what comparable properties

 18    are going for in that area according to the broker’s

 19    analysis and the broker intends to go forward with a

 20    stalking horse contract and have an auction sale the

 21    first week of Decemb er.

 22                We got off to a slow start on the sale

 23    process. Brooklyn Lender has appealed the confirmation

 24    order which did not make it easy.                 Then during the

 25    summer things were slow and September was a dead month
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   1   because of Jewish holidays.              The broker was project ing

   2   best case scenario to have an auction sale in October,

   3   the client wanted to insure that we got the full

   4   benefit of the whole marketing period and we have, and

   5   that is why we are now ready to go forward.                      Brooklyn

   6   Lender, through Jason Leibowitz, has had a number of

   7   contacts directly with the broker and has been able to

   8   ask what questions he wants. The answer that he was

   9   not able to get was when there was going to be an

 10    auction because that hadn’t been decided yet.                       It has

 11    been.

 12                I am sorry that we had t o have this hearing

 13    today.     I first discovered the apparent breakdown in

 14    communications on Thursday, and Thursday night before

 15    I could get everyone back on track this request for a

 16    conference was made. And since then I prevailed upon

 17    the broker to file, to prepare a detailed written

 18    report, the kind that you usually don’t see until you

 19    get to the sale application hearing, it’s on file and

 20    it goes into great detail. This is a typical, very

 21    exhaustive Rosewood Realty marketing process with

 22    thousands of emails and phone calls, and a lot of, a

 23    lot of interest in the property and ultimately a high

 24    bid that hopefully will be able to turn into a

 25    stalking horse contract.
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   1               THE COURT:        So what is the date for the

   2   auction?

   3               MR. FRANKEL:        The exact date I don’t know,

   4   it’s going to be the first week of December, a day in

   5   the first week of December.

   6               THE COURT:        Okay.    All right.       Okay, I’ve not

   7   read that report, I preparing for this hearing and

   8   hadn’t seen it.         You do need to file the quarterly

   9   progress report, too, as re quired under the plan and

 10    Rule 3022 of the Local Rules.

 11                Has, what is the status of determining , if

 12    Brooklyn Lender wants to do this , the amount that

 13    Brooklyn Lender can bid for its credit bids?

 14                MR. FRANKEL:        Your Honor , we’ve been, I’ll let

 15    Ms. Recine answer that, I believe that there has been

 16    a basic agreement between, with my co -counsel on this.

 17                THE COURT:        Okay.

 18                MS. RECINE:        Your Honor, that is correct.                The

 19    credit bid was agreed to with the concept that the

 20    sale would be happening in or about this wee k and so

 21    it based the amount of the credit bid on the amount as

 22    of 10/31.

 23                THE COURT:        Right.

 24                MS. RECINE:        But since we’re now moving to

 25    December we may need to adjust that and I can
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   1   certainly go back.

   2               THE COURT:        I’m sure you will, I mean there

   3   will just be an accrual on it.

   4               MS. RECINE:        Right.

   5               THE COURT:        Okay.

   6               MS. RECINE:        So I think we should be fine that

   7   way.    I haven’t had the opportunity either to analyze

   8   the report that was filed this morning with my client,

   9   I will do so and I will speak with Mr. F rankel about

 10    any issues.

 11                THE COURT:        All right, that’s fine. The key

 12    thing here is we do now have an outside date for the

 13    auction, which is the end of the first week of

 14    December.      And obviously if the report is as described

 15    I think that that should suffi ce, but I’m glad we had

 16    the conference.         So unless there’s anything more to

 17    say on this, it looks like I’ll be seeing you all

 18    probably mid to late December for a hearing on

 19    approval or confirmation of the sale.

 20                (Continued on following page to include

 21    certification.)

 22
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   1               Okay --

   2               MR. FRANKEL:        Thank you, Your Honor .

   3               MS. RECINE:        Thank you, Your Honor.

   4               THE COURT:        Thank you.

   5                       (Whereupon the matter is adjourned.)

   6   I, Carole Ludwig, court approved transcriber, certify that

   7   the foregoing is a correct transcript from the official

   8   electronic sound recording of the proceedings in the above-

   9   entitled matter.

 10

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 12    ____________________________                  ______________________

 13            CAROLE LUDWIG                              December 3, 2021

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